           Case 4:23-cv-04155-YGR           Document 236-2        Filed 03/27/24      Page 1 of 2



 1

 2                             IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
 3
     CALIFORNIA COALITION FOR WOMEN
 4   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
     G.M.; A.S.; and L.T., individuals on behalf of        CASE NO. 4:23-CV-04155-YGR
 5   themselves and all others similarly situated,

 6                             Plaintiffs
                         v.
 7
     UNITED STATES OF AMERICA FEDERAL                      DECLARATION OF WILLIAM W.
 8   BUREAU OF PRISONS, a governmental entity;             LOTHROP, DEPUTY DIRECTOR,
     BUREAU OF PRISONS DIRECTOR                            FEDERAL BUREAU OF PRISONS
 9   COLETTE PETERS, in her official capacity;
     FCI DUBLIN WARDEN THAHESHA JUSINO,
10   in her official capacity; OFFICER
     BELLHOUSE, in his individual capacity;
11   OFFICER GACAD, in his individual capacity;
     OFFICER JONES, in his individual capacity;
12   LIEUTENANT JONES, in her individual
     capacity; OFFICER LEWIS, in his individual
13   capacity; OFFICER NUNLEY, in his individual
     capacity, OFFICER POOL, in his individual
14   capacity, LIEUTENANT PUTNAM, in his
     individual capacity; OFFICER SERRANO, in
15   his individual capacity; OFFICER SHIRLEY, in
     his individual capacity; OFFICER SMITH, in his
16   individual capacity; and OFFICER VASQUEZ,
     in her individual capacity,
17
                              Defendants.
18
     I, WILLIAM W. LOTHROP, declare as follows:
19
     1. My name is William W. Lothrop, and I am the Deputy Director of the Bureau of Prisons.
20
     2. I am familiar with the contents of the document relating to an ex parte contact with the court that
21
         government seeks to file under seal.
22
     3. The content of this notice contains highly sensitive information. It relates to the management of FCI
23
         Dublin, including details about operational decisions and future planning at the facility.
24
     4. Disclosure of such information to the public, to inmates, and even to opposing counsel would be
25
         detrimental to facility management and would increase risk to BOP staff and inmates alike.
26
27

28

     DECLARATION OF

30   4:23-CV-04155-YGR                                     1
           Case 4:23-cv-04155-YGR           Document 236-2        Filed 03/27/24      Page 2 of 2



 1            I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is true and

 2 correct. Executed this 25th day of March 2024.

 3

 4

 5

 6
                                                           William W. Lothrop
 7                                                         Deputy Director
                                                           Bureau of Prisons
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28

     DECLARATION OF

30   4:23-CV-04155-YGR                                     2
